     Case 1:16-cr-00123-DAD-BAM Document 60 Filed 11/09/17 Page 1 of 2



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 5   Attorneys for:      Defendant, Felix Gago

 6
 7
 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                            Case No. 1:16-cr-00123-DAD-BAM-3
12                                    Plaintiff,          STIPULATION AND ORDER TO
                                                          CONTINUE SENTENCING
13                          v.

14   FELIX GAGO                                           Judge: Hon. Dale A. Drozd
                                                          Courtroom 5
15                                  Defendant.

16
17
18   TO THE HONORABLE DALE A. DROZD, FEDERAL DISTRICT COURT JUDGE,

19   EASTERN DISTRICT OF CALIFORNIA; United States Attorney, Kimberly A. Sanchez,

20   and United States Probation Officer, Megan Pascual.

21                    Defendant, Felix Gago, by and through his attorney of record, Peter M. Jones,

22   and the United States Attorney, by and through Kimberly A. Sanchez, hereby stipulate as

23   follows:

24                    1. By previous order, this matter was set for sentencing on November 13,

25                       2017, at 10:00 a.m.

26                    2. The parties agree and stipulate that Defendant’s sentencing be continued to

27                       November 27, 2017, at 10:00 a.m.

28   ///
                                                     1
      ____________________________________________________________________________________________________
                                  STIPULATION AND ORDER TO CONTINUE SENTENCING
     Case 1:16-cr-00123-DAD-BAM Document 60 Filed 11/09/17 Page 2 of 2



 1                   3. The parties agree that an additional two weeks is necessary to prepare for

 2                       Mr. Gago’s sentencing hearing.

 3   IT IS SO STIPULATED.
 4                                                   Respectfully Submitted
 5
 6   DATED: November 7, 2017                         By: /s/ Kimberly A. Sanchez________
                                                         United States Attorney
 7
 8   DATED: November 7, 2017                         By: /s/ Peter M. Jones_____________
                                                        PETER M. JONES
 9                                                      Attorney for Defendant Felix Gago
10
11                                              ORDER
12         The court has reviewed and considered the stipulation of the parties to continue the
13   sentencing in this case. Good cause appearing, the sentencing hearing as to the above named
14   defendant currently scheduled for November 13, 2017, is continued until November 27, 2017,
15   at 10:00 a.m. in courtroom 5 before District Judge Dale A. Drozd.
16
     IT IS SO ORDERED.
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18       Dated:     November 8, 2017
                                                          UNITED STATES DISTRICT JUDGE
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      ____________________________________________________________________________________________________
                                STIPULATION AND ORDER TO CONTINUE SENTENCING
